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 1   ROBERT MCCANN SB170286
     MCCANN & ASSOCIATES
 2   A PROFESSIONAL CORP-ORATION
     2100 WATT AVENUE, SUITE 100
 3   SACRAMENTO, CA 95825
 4   ATTORNEY FOR MARCOS SOTO GONZALEZ
 5

 6
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
 7
                            IN AND FOR THE COUNTY OF SACRAMENTO
 8

 9
     UNITED STATES OF AMERICA,                          )   Case No.: 2:13-CR-00341-JAM
10                                                      )
                         Plaintiff,                     )   STIPULATION TO CONTINUE HEARING
11                                                      )   DATE AND ORDER THEREON
             vs.                                        )
12                                                      )   DATE: AUGUST 12, 2014
     MARCOS SOTO GONZALEZ,                              )   TIME: 9:30 a.m.
13                                                      )   COURT: HON. JOHN A. MENDEZ
                         Defendant                      )
14                                                      )

15
                                                 STIPULATION
16
     Plaintiff United States of America, by and through its counsel of record, and defendant, by and
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     through defendant’s counsel and record, hereby stipulate as follows:
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         1. By previous order, this matter was set for status on August 12, 2014.
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         2. By this stipulation, defendant now moves to continue the status conference until
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            September 9, 2014 at 9:30 a.m., and to exclude time between August 12, 2014, and
21
            September 9, 2014, under Local Code T4.
22
         3. The parties agree and stipulate, and request that the Court find the following:
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                   (a)     The government has represented that the discovery has been either produced
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                           directly to counsel or made available for inspection and copying.
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                   (b)     The parties have initiated plea negotiations. Once the government presents a

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                           formal plea offer to the defense, counsel for defendant will need additional

28                         time to review the discovery in light of the offer, discuss this and other

     1                                                STIPULATION REGARDING EXCLUDABLE TIME PERIODS

                                                                                   UNDER SPEEDY TRIAL ACT
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 1                      potential resolutions with his client, and, if the offer is rejected, prepare for
 2
                        trial.
 3
                (c)     Counsel for defendant believes that the failure to grant the above-requested
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                        continuance would deny him the reasonable time necessary for effective
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                        preparation, taking into account the exercise of due diligence.\
 6
                (d)     The government does not object to the continuance.
 7
                (e)     Based on the above-stated findings, the ends of justice served by continuing
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                        the case as requested outweigh the interest of the public and the defendant in a
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                        trial within the original date prescribed by the Speedy Trial Act.
10
                (f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
11
                        3161, et seq., within which trial must commence, the time period of August
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                        12, 2014 to September 9, 2014, inclusive, is deemed excludable pursuant to
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                        18 U.S.C. § 3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
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                        continuance granted by the Court at defendant’s request on the basis of the
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                        Court’s findings that the end of justice served by taking such action outweigh
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                        the best interest of the public and the defendant in a speedy trial.
17
         4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
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19
            Speedy Trial Act dictate that additional time periods are excludable from the period

20
            within which a trial must commence.

21          IT IS SO STIPULATED.

22

23   Dated: August 7, 2014                                  BENJAMIN B. WAGNER
                                                            United States Attorney
24
                                                            /s/ MICHAEL D. McCOY
25
                                                            MICHAEL D. MCCOY
26                                                          Assistant United States Attorney

27   Dated: August 7, 2014                                  /s/ ROBERT McCann_____
                                                            Counsel for Defendant
28
                                                            Marcos Soto Gonzalez
     2                                              STIPULATION REGARDING EXCLUDABLE TIME PERIODS

                                                                                  UNDER SPEEDY TRIAL ACT
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 1                             FINDINGS AND ORDER
 2
                IT IS SO FOUND AND ORDERED this 8th day of August, 2014
 3
                                        /s/ John A. Mendez______________________
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 5                                      U. S. DISTRICT COURT JUDGE

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     3                                  STIPULATION REGARDING EXCLUDABLE TIME PERIODS

                                                                UNDER SPEEDY TRIAL ACT
